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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA,                   :
               Plaintiff,                   :
                                            :
                    v.                      :
                                            :
SAFEHOUSE, a Pennsylvania nonprofit         :
corporation; JOSE BENITEZ, as President     :
and Treasurer of Safehouse,                 :                           CIVIL ACTION
                    Defendants,             :                           No. 19-519
_________________________________________ :
                                            :
SAFEHOUSE, a Pennsylvania nonprofit         :
corporation,                                :
                    Counterclaim Plaintiff, :
                                            :
                    v.                      :
                                            :
UNITED STATES OF AMERICA,                   :
                    Counterclaim Defendant. :


                                              ORDER

       This 25th day of March, 2024, it is hereby ORDERED that Safehouse shall provide to the

Court a copy of its Form 1023, the completed application for recognition of its exemption from

federal income tax under Internal Revenue Code Section 501(c)(3). 1


                                                        /s/ Gerald Austin McHugh
                                                       United States District Judge




1
 Safehouse may either submit the application via ECF or via email to:
Chambers_of_Judge_Gerald_McHugh@paed.uscourts.gov.
